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  August 6, 2023


  Via ECF


  The Honorable Vera M. Scanlon
  United States Magistrate Judge
  U.S. District Court, Eastern District of New York
  Brooklyn, New York 11201


  Re: Henkin, et al. v. Qatar Charity, et al., 21-cv-05716-AMD-VMS


  Dear Judge Scanlon:

         My firm represents the Plaintiffs in this action. Plaintiffs and Defendants Qatar Charity
  and Masraf Al Rayan have stipulated to the Proposed Protective Order concerning the treatment of
  confidential discovery materials that is annexed as Exhibit 1 hereto.

         On behalf of all parties, I respectfully request the Court’s approval and entry of same.

                                                     Respectfully submitted,

                                                     /s/ Patrick L. Rocco




  Attachment: Exhibit 1 (Proposed Protective Order)
